               Case 2:19-cr-00177-JAM Document 69 Filed 07/28/20 Page 1 of 4


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 JAMES R. CONOLLY
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:19-CR-177-MCE
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           ORDER
14   GILDARDO BARRIOS (a.k.a. Edgar                      DATE: July 16, 2020
     Munguia),                                           TIME: 10:00 a.m.
15   MARISA MUNGUIA,                                     COURT: Hon. Morrison C. England, Jr.
     MARIA DOLORES BARRIOS-ALVAREZ
16
                                  Defendants.
17

18
            This case was set for a status conference on July 16, 2020, and moved to July 23, 2020, on the
19
     Court’s on motion. The parties now request that the Court continue the status conference to October 15,
20
     2020. To the extent it is needed, this stipulation supplements the basis for exclusion of time under
21
     General Order 611 and requests that the Court also exclude time under Local Code T4, for the reasons
22
     set forth below.
23
            On April 17, 2020, this Court issued General Order 617, which suspends all jury trials in the
24
     Eastern District of California scheduled to commence before June 15, 2020, and allows district judges to
25
     continue all criminal matters to a date after June 1. This and previous General Orders were entered to
26
     address public health concerns related to COVID-19.
27
            Although the General Orders address the district-wide health concern, the Supreme Court has
28
     emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

      STIPULATION REGARDING EXCLUDABLE TIME              1
30    PERIODS UNDER SPEEDY TRIAL ACT
                 Case 2:19-cr-00177-JAM Document 69 Filed 07/28/20 Page 2 of 4


 1 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.

 2 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

 3 exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such failure cannot be harmless. Id. at

 4 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

 5 judge ordering an ends-of-justice continuance must set forth explicit findings on the record “either orally

 6 or in writing”).

 7           Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

 8 and inexcusable—General Orders 611, 612, and 617 require specific supplementation. Ends-of-justice

 9 continuances are excludable only if “the judge granted such continuance on the basis of his findings that

10 the ends of justice served by taking such action outweigh the best interest of the public and the

11 defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable unless

12 “the court sets forth, in the record of the case, either orally or in writing, its reason or finding that the

13 ends of justice served by the granting of such continuance outweigh the best interests of the public and

14 the defendant in a speedy trial.” Id.

15           The General Orders exclude delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

16 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

17 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

18 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

19 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court
20 recognized that the eruption made it impossible for the trial to proceed. Id. at 767-68; see also United

21 States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the

22 September 11, 2001 terrorist attacks and the resultant public emergency). The coronavirus is posing a

23 similar, albeit more enduring, barrier to the prompt proceedings mandated by the statutory rules.

24           In light of the societal context created by the foregoing, this Court should consider the following

25 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

26 justice exception, § 3161(h)(7) (Local Code T4). 1 If continued, this Court should designate a new date

27
             1
            The parties note that General Order 612 acknowledges that a district judge may make
28 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
     STIPULATION REGARDING EXCLUDABLE TIME              2
30   PERIODS UNDER SPEEDY TRIAL ACT
                 Case 2:19-cr-00177-JAM Document 69 Filed 07/28/20 Page 3 of 4


 1 for the status conference. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any

 2 pretrial continuance must be “specifically limited in time”).

 3                                                STIPULATION

 4          Plaintiff United States of America, by and through its counsel of record, and defendants, by and

 5 through defendants’ counsel of record, hereby stipulate as follows:

 6          1.      By this stipulation, the defendants now move to continue the status conference to October

 7 15, 2020, and to exclude time between July 16, 2020, and October 15, 2020, under Local Code T4, in

 8 addition to the exclusion of time the Court has already ordered in light of public health concerns cited by

 9 General Order 611.

10          2.      The parties agree and stipulate, and request that the Court find the following:

11                  a)     The government has produced discovery in this matter including investigative

12          reports, photographs, and laboratory reports. The government is also in the process of producing

13          or making available to the defense audio and video recordings.

14                  b)     Counsel for defendants will need additional time to review the discovery.

15          Defense counsel will also need time to review the current charges, to investigate and conduct

16          research related to the current charges, and to discuss potential resolutions with their clients, to

17          prepare pretrial motions, and to otherwise prepare for trial.

18                  c)     Counsel for defendants believe that failure to grant the above-requested

19          continuance would deny them the reasonable time necessary for effective preparation, taking into

20          account the exercise of due diligence.

21                  d)     The government does not object to the continuance.

22                  e)     Based on the above-stated findings, the ends of justice served by continuing the

23          case as requested outweigh the interest of the public and the defendant in a trial within the

24          original date prescribed by the Speedy Trial Act.

25                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

26          et seq., within which trial must commence, the time period of the date of this stipulation and

27          order, to October 15, 2020, inclusive, is deemed excludable pursuant to this Court’s General

28          Orders, due to the public health concerns created by the COVID-19 pandemic, as well to

      STIPULATION REGARDING EXCLUDABLE TIME               3
30    PERIODS UNDER SPEEDY TRIAL ACT
                 Case 2:19-cr-00177-JAM Document 69 Filed 07/28/20 Page 4 of 4


 1          18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted

 2          by the Court at defendant’s request on the basis of the Court’s finding that the ends of justice

 3          served by taking such action outweigh the best interest of the public and the defendant in a

 4          speedy trial.

 5          3.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 6 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 7 must commence.

 8          IT IS SO STIPULATED.

 9   Dated: July 20, 2020                            MCGREGOR W. SCOTT
                                                     United States Attorney
10
                                                     /s/ JAMES R. CONOLLY
11                                                   JAMES R. CONOLLY
                                                     Assistant United States Attorney
12
     Dated: July 20, 2020                            /s/ LEXI NEGIN
13
                                                     LEXI NEGIN
14                                                   Counsel for Defendant
                                                     GILDARDO BARRIOS
15   Dated: July 20, 2020                            /s/ MARY ANN F. BIRD
                                                     MARY ANN F. BIRD
16                                                   Counsel for Defendant
                                                     MARISA MUNGUIA
17   Dated: July 20, 2020                            /s/ DANIEL L. OLSEN
18                                                   DANIEL L. OLSEN
                                                     Counsel for Defendant
19                                                   MARIA DOLORES BARRIOS-ALVAREZ

20

21                                                    ORDER

22          IT IS SO ORDERED.

23

24 Dated: July 28, 2020

25

26

27

28

      STIPULATION REGARDING EXCLUDABLE TIME               4
30    PERIODS UNDER SPEEDY TRIAL ACT
